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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION


OSCAR INSURANCE COMPANY
OF FLORIDA,

         Plaintiff,

vs.                                                        Case No.: 6:18-cv-01944-ORL-40-TBS

BLUE CROSS AND BLUE SHIELD OF
FLORIDA, INC., d/b/a Florida Blue; HEALTH
OPTIONS INC., d/b/a Florida Blue HMO; and
FLORIDA HEALTH CARE PLAN INC., d/b/a
Florida Health Care Plans,

         Defendants.
                                                  /

                    DEFENDANTS’ CERTIFICATE OF INTERESTED
                 PERSONS AND CORPORATE DISCLOSURE STATEMENT


                 I hereby disclose the following pursuant to Rule 7.1 of the Federal Rules of Civil

Procedure and this Court’s Order on Interested Persons And Corporate Disclosure Statement

(D.E. 8):

      1. The name of each person, attorney, association of persons, firm, law firm, partnership,

         and corporation that has or may have an interest in a party to this action or in the outcome

         of this action, including subsidiaries, conglomerates, affiliates, parent corporations,

         publicly-traded companies that own 10% or more of a party’s stock, and all other

         identifiable legal entities related to a party:
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                       Entity                                          Interest
 Oscar Insurance Company of Florida              Plaintiff
 Mulberry Health Inc.                            Parent of Plaintiff
 McDonald Toole Wiggins, P.A.
   • Francis M. McDonald, Jr.;                   Counsel for Plaintiff
   • Sarah A. Long
 Skadden, Arps, Slate, Meagher & Flom LLP
    • Steven C. Sunshine;
    • Paul M. Eckles;
                                                 Counsel for Plaintiff
    • Tara R. Reinhart;
    • Michael H. Menitove;
    • Matthew Lisagar
 Blue Cross and Blue Shield of Florida, Inc.     Defendant
 Health Options Inc.                             Defendant
 Florida Health Care Plan, Inc.                  Defendant
 GuideWell Mutual Holding Corporation            Parent of Defendants
 Holland & Knight LLP
    • Timothy Conner;                            Counsel for Defendants
    • Jerome Hoffman
 Cravath, Swaine & Moore LLP
    • Evan R. Chesler;
    • Christine A. Varney;
                                                 Counsel for Defendants
    • Karin A. DeMasi;
    • Lauren Roberta Kennedy;
    • Rebecca J. Schindel


   2. The name of every other entity whose publicly-traded stock, equity, or debt may be

       substantially affected by the outcome of the proceedings:

              No entities known at this time.
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       3. The name of every other entity which is likely to be an active participant in the

          proceedings, including the debtor and members of the creditors’ committee (or if no

          creditors’ committee the 20 largest unsecured creditors):

                  No entities known at this time.

       4. The name of each victim (individual and corporate), including every person who may be

          entitled to restitution:

                  Plaintiff alleges that Oscar Insurance Company of Florida is a victim that may be

entitled to restitution, but Defendants deny that Plaintiff is a victim or entitled to restitution.

       5. Check one of the following:

                  ___X__ a. I certify that I am unaware of any actual or potential conflict of interest

involving the District Judge and Magistrate Judge assigned to this case and will immediately

notify the Court in writing upon learning of any such conflict.

-or-
                  _____ b. I certify that I am aware of a conflict or basis of recusal of the District

Judge or Magistrate Judge as follows:

December 5, 2018

                                                  HOLLAND & KNIGHT LLP

                                                    /s/ Timothy J. Conner
                                                    Timothy J. Conner, Esq.
                                                    Florida Bar No. 767580
                                                    Jerome W. Hoffman, Esq.
                                                    Florida Bar No. 258830
                                                    50 North Laura Street, Ste. 3900
                                                    Jacksonville, FL 32202
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                                                    Facsimile: 904-358-1872
                                                    timothy.conner@hklaw.com
                                                    jerome.hoffman@hklaw.com

                                                     ~ and ~
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                                              CRAVATH, SWAINE & MOORE, LLP

                                              /s/ Karin A. DeMasi
                                              Karin A. DeMasi, Esq.
                                              Evan R. Chesler
                                              Christine A. Varney, Esq.
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                                              lkennedy@cravath.com

                                             Attorneys for Defendants



                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 5th day of December, 2018, a true and correct copy of

the foregoing Certificate of Interested Persons and Corporate Disclosure Statement was

electronically filed using the ECF/EM portal system, which will serve notice of such filing on all

counsel of record.


                                             /s/ Timothy J. Conner
                                             Timothy J. Conner
